 Case: 1:13-cr-00774 Document #: 1443 Filed: 02/19/18 Page 1 of 2 PageID #:30652
       Case: 17-1650    Document: 36          Filed: 02/16/2018   Pages: 2



                United States Court of Appeals
                                  For the Seventh Circuit
                                  Chicago, Illinois 60604

                                    February 16, 2018

By the Court:

UNITED STATES OF AMERICA,           ]                Appeals from the United
        Plaintiff-Appellee,         ]                States District Court for
                                    ]                the Northern District of
Nos. 17-1650, 17-2854, 17-2858,     ]                Illinois, Eastern Division.
     17-2877, 17-2899, 17-2917,     ]
     17-2918, 17-2931 & 17-3449 v. ]                 No. 1:13-cr-00774
                                    ]
BYRON BROWN, also known as B-Rupt, ]                 John J. Tharp, Jr.,
WILLIAM FORD, GABRIEL BUSH,         ]                 Judge.
PARIS POE, DERRICK VAUGHN,          ]
STANLEY VAUGHN, ARNOLD COUNCIL,     ]
GREGORY CHESTER and RODNEY JONES,   ]
       Defendants-Appellants.       ]
------------------------------------]
UNITED STATES OF AMERICA,           ]                Appeal from the United
        Plaintiff-Appellee,         ]                States District Court for
                                    ]                the Northern District of
No. 17-3063                 v.      ]                Illinois, Eastern Division.
                                    ]
GREGORY CHESTER,                    ]                No. 1:13-cr-00288
        Defendant-Appellant.        ]
                                    ]                John J. Tharp, Jr.,
                                    ]                     Judge.

      This matter comes before the court for its consideration of attorney Steven
Shobat’s MOTION TO WITHDRAW AND FOR APPOINTMENT OF NEW
COUNSEL UNDER THE CRIMINAL JUSTICE ACT, filed on September 13, 2017 in
appeal no. 17-2858. Upon consideration thereof,

       IT IS ORDERED that the Motion to Withdraw is GRANTED.

      IT IS FURTHER ORDERED that attorney Erika L. Bierma, STAFFORD
ROSENBAUM LLP, 222 W. Washington Avenue, P.O. Box 1784, Madison, WI 53701, is
appointed to represent defendant-appellant Gabriel Bush in appeal no. 17-2858
pursuant to the provisions of the Criminal Justice Act. Counsel is directed to contact the
defendant-appellant immediately.
  Case: 1:13-cr-00774 Document #: 1443 Filed: 02/19/18 Page 2 of 2 PageID #:30653
        Case: 17-1650    Document: 36          Filed: 02/16/2018   Pages: 2


Nos. 17-1650, et al.,                                                                                                         Page 2

      The briefing schedule in appeal nos. 17-2854, 17-2858, 17-2877, 17-2899, 17-2917,
17-2918, 17-2931, 17-3063, and 17-3469 shall proceed as follows:

         1.        Defendants-appellants shall file their briefs and required short appendices
                   on or before July 20, 2018.

         2.        Plaintiff-appellee shall file its consolidated brief on or before
                   August 20, 2018.

         3.        Defendants-appellants shall file their reply briefs, if any, on or before
                   September 4, 2018.

        Counsel for appellants are encouraged to avoid unnecessary duplication by filing
a joint brief or a joint appendix or by adopting parts of a co-appellant’s brief.
Duplicative briefing will be stricken. See United States v. Martin, Nos. 99-2621, et al., slip
op. at 13-14 (7th Cir. Nov. 1, 1999); United States v. Torres, 170 F.3d 749 (7th Cir. 1999);
United States v. Ashman, 964 F.2d 596 (7th Cir. 1992).

       Appellants, however, may not adopt the “Jurisdictional Statement” of another.
Each appellant’s brief must include a complete “Jurisdictional Statement”. Appellee’s
brief must comply with Circuit Rule 28(b).


Important Scheduling Notice !

         Notices of hearing for particular appeals are mailed shortly before the date of oral argument. Criminal appeals are
         scheduled shortly after the filing of the appellant's main brief; civil appeals after the filing of the appellee's brief. If you
         foresee that you will be unavailable during a period in which your particular appeal might be scheduled, please write
         the clerk advising him of the time period and the reason for such unavailability. Session data is located at
         http://www.ca7.uscourts.gov/cal/calendar.pdf. Once an appeal is formally scheduled for a certain date, it is very difficult
         to have the setting changed. See Circuit Rule 34(e).
